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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )   2:07-CR-00570 FCD
                                       )
12             Plaintiff,              )
                                       )   FINAL ORDER OF FORFEITURE
13        v.                           )
                                       )
14   LAKHVINDER SINGH,                 )
                                       )
15             Defendant.              )
                                       )
16
17        WHEREAS, on or about June 3, 2010, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 21
19   U.S.C. § 853(a) based upon the plea agreement entered into
20   between plaintiff and defendant Lakhvinder Singh forfeiting to
21   the United States the following property:
22             a)    A 1999 Freightliner truck, bearing VIN:
                     1FUYSDYB9XPB35565, Washington State License Plate
23                   Number 04356RP, seized on December 14, 2007.
24        AND WHEREAS, beginning on June 22, 2010, for at least 30
25   consecutive days, the United States published notice of the
26   Court's Order of Forfeiture on the official internet government
27   forfeiture site www.forfeiture.gov.       Said published notice
28   advised all third parties of their right to petition the Court

                                       1              Final Order of Forfeiture
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 1   within sixty (60) days from the first day of publication of the
 2   notice for a hearing to adjudicate the validity of their alleged
 3   legal interest in the forfeited property;
 4        AND WHEREAS, the Court has been advised that no third party
 5   has filed a claim to the subject property, and the time for any
 6   person or entity to file a claim has expired.
 7        Accordingly, it is hereby ORDERED and ADJUDGED:
 8        1.    A Final Order of Forfeiture shall be entered forfeiting
 9   to the United States of America all right, title, and interest in
10   the above-listed property pursuant to 21 U.S.C. § 853(a), to be
11   disposed of according to law, including all right, title, and
12   interest of Lakhvinder Singh.
13        2.    All right, title, and interest in the above-listed
14   property shall vest solely in the name of the United States of
15   America.
16        3.    The U.S. Customs and Border Protection shall maintain
17   custody of and control over the subject property until it is
18   disposed of according to law.
19        SO ORDERED this 9th day of November, 2011.
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                                            FRANK C. DAMRELL, JR.
23                                          United States District Judge
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                                       2              Final Order of Forfeiture
